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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                        CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                   §
                                            §
      Plaintiff/Respondent,                 §
                                            §
V.                                          §         CR. No. C-02-252 (6)
                                            §         C.A. No. C-06-87
ANDRES MARTINEZ,                            §
                                            §
      Defendant/Movant.                     §

                                FINAL JUDGMENT

      The Court enters final judgment denying defendant Andres Martinez’s motion to

vacate, set aside or correct sentence under 28 U.S.C. § 2255.


      ORDERED this 19th day of February, 2006.



                                      ____________________________________
                                                 HAYDEN HEAD
                                                 CHIEF JUDGE
